                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

 BRUCE EDWARD HUNDLEY                             )
 AND EMMA RUTH KING HUNDLEY,                      )
                                                  )
                Plaintiffs,                       )        Case No.
                                                  )
 v.                                               )
                                                  )
 PMAB, LLC,                                       )                 COMPLAINT
                                                  )              Jury Trial Demanded
                Defendant.                        )
                                                  )


       NOW COME the Plaintiffs, BRUCE HUNDLEY and EMMA HUNDLEY, by and through

their attorneys, and for their Complaint against the Defendant, PMAB, LLC, Plaintiffs allege and

state as follows:

                                PRELIMINARY STATEMENT

       1.       This is an action for damages for violations of the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692, et seq., and the North Carolina Debt Collection Act

(“NCDCA”), N.C. Gen. Stat. § 58-70-90, et seq.

                                 JURISDICTION AND VENUE

       2.       This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337 and 1367, and 15

U.S.C. §1692k(d). This jurisdiction includes supplemental jurisdiction with respect to any pendent

state claims.

       3.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events and omissions giving rise to this claim occurred in this District.




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                                             PARTIES

       4.      Bruce Edward Hundley (“Mr. Hundley”) and Emma Ruth King Hundley (“Mrs.

Hundley”) (collectively, “Plaintiffs”) are individuals who were at all times residing in

Mecklenburg County, North Carolina.

       5.      Defendant PMAB, LLC (“Defendant”), is a limited liability corporation duly

organized and existing under the laws of the State of North Carolina and may be served with

process directed to its registered agent National Corporate Research, Ltd. at 212 South Tryon

Street, Suite 1000 Charlotte, NC 28281-0001, as evidenced by records from the North Carolina

Secretary of State’s website attached hereto as Exhibit A.

       6.      Plaintiffs are “consumer[s]” as defined in 15 U.S.C. § 1692a(3), as they are natural

persons allegedly obligated to pay a debt.

       7.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6), in that it held itself out to be a company collecting a consumer debt allegedly

owed by Plaintiffs.

       8.      The aforementioned alleged debt is a “debt” within the meaning of 15 U.S.C. §

1692a(5), in that it is an alleged obligation of a consumer to pay money arising out of a transaction

in which the money, property, insurance and/or services which are the subject of the transaction

were primarily for personal, family and/or household purposes.

       9.      Plaintiffs are also “consumers” as defined in N.C. Gen. Stat. § 58-70-90(2), as they

are individuals that have incurred a debt or alleged debt.

       10.     Defendant also acted as a “collection agency” within the meaning of N.C. Gen.

Stat. § 58-70-90(1) in that it engages, directly or indirectly, in debt collection from a consumer.




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       11.     The aforementioned alleged debt is also a “debt” within the meaning of N.C. Gen.

Stat. § 58-70-90(3), in that it is an alleged obligation owed or due or alleged to be owed or due

from a consumer.

                             FACTS COMMON TO ALL COUNTS

       12.     On August 13, 2015, Plaintiffs filed a joint Chapter 7 bankruptcy petition in the

U.S. Bankruptcy Court, Western District of North Carolina, case number 15-31264-jcw.

       13.     Plaintiffs scheduled an obligation of the aforementioned alleged debt in Schedule

F of their bankruptcy petition. See Exhibit B.

       14.     On or about August 14, 2015, at 3:08 p.m., Defendant placed a telephone call to

Plaintiffs and left a voicemail message on Plaintiffs’ answering machine in an attempt to collect

the alleged debt.

       15.     Shortly thereafter, Plaintiffs returned the call to Defendant; spoke with an

employee, agent and/or representative of Defendant; and provided their bankruptcy case number

and bankruptcy attorney’s name.

       16.     On or about August 15, 2015, Defendant placed another call to Plaintiffs in further

attempt to collect the alleged debt.

       17.     On August 19, 2015, the Bankruptcy Noticing Center sent notice of Plaintiffs’

bankruptcy case by way of U.S. First Class Mail to Defendant. See Exhibit C.

       18.     Thereafter, Plaintiffs continued to receive additional calls from Defendant in

further attempt to collect the alleged debt.

       19.     Specifically, Defendant placed telephone calls to Plaintiffs on or about October 3,

2015; October 6, 2015; October 7, 2015; and October 12, 2015.




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       20.      On or about October 5, 2015, Defendant caused a collection letter to be sent to Mrs.

Hundley in further attempt to collect the alleged debt.

       21.      As a direct and proximate cause of the attempts to collect an alleged debt by

defendants herein, Plaintiffs have suffered severe stress, aggravation, and emotional distress.

       22.      Mr. Hundley suffers from high blood pressure and atrial tribulation. Mr. Hundley

is prescribed Amlodipine, Diovan, and Megropolol to manage his medical conditions. Mr.

Hundley’s conditions were exacerbated by the increased and constant stress caused by Defendant’s

conduct.

       23.      Mrs. Hundley also suffers from high blood pressure and is prescribed Loscartan to

manage her condition. Defendant’s conduct caused aggravation and resulted in her having to leave

the room each time Defendant called.

       24.      Moreover, Mr. and Mrs. Hundley suffered humiliation as a result of Defendant’s

conduct, as many of the phone calls alleged in this complaint occurred during a family reunion,

causing Plaintiff’s to have to leave temporarily in order to speak with Defendant on the phone.

                                            COUNT I

       25.      Plaintiffs incorporate the allegations and statements made above in paragraphs 1

through 8 and 12 through 22 as if reinstated herein.

       26.      Defendant violated 15 U.S.C. § 1692b(6) by communicating with Plaintiffs after

Defendant had been advised that Plaintiffs were represented by an attorney with respect to the

alleged debt.

       WHEREFORE, Plaintiffs pray for the following relief:




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                a.     Judgment against Defendant for Plaintiffs’ actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. § 1692k(a)(1);

                b.     Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §

                       1692k(a)(2)(A);

                c.     Judgment against Defendant for Plaintiffs’ reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. § 1692k(a)(3); and

                d.     Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT II

       27.      Plaintiffs incorporate the allegations and statements made above in paragraphs 1

through 8 and 12 through 22 as if reinstated herein.

       28.      Defendant violated 15 U.S.C. § 1692c(a)(2) by communicating with Plaintiffs after

Defendant had been advised that Plaintiffs were represented by an attorney with respect to the

alleged debt.

       WHEREFORE, Plaintiffs pray for the following relief:

                a.     Judgment against Defendant for Plaintiffs’ actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. § 1692k(a)(1);

                b.     Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §

                       1692k(a)(2)(A);




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               c.      Judgment against Defendant for Plaintiffs’ reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. § 1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT III

       29.     Plaintiffs incorporate the allegations and statements made above in paragraphs 1

through 8 and 12 through 22 as if reinstated herein.

       30.     Defendant violated 15 U.S.C. § 1692d by engaging in conduct the natural

consequence of which was to harass, oppress and/or abuse Plaintiffs in connection with the

collection of the alleged debt.

       WHEREFORE, Plaintiffs pray for the following relief:

               a.      Judgment against Defendant for Plaintiffs’ actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. § 1692k(a)(1);

               b.      Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §

                       1692k(a)(2)(A);

               c.      Judgment against Defendant for Plaintiffs’ reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. § 1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT IV

       31.     Plaintiffs incorporate the allegations and statements made above in paragraphs 1

through 8 and 12 through 22 as if reinstated herein.




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       32.     Defendant violated 15 U.S.C. § 1692e by using a false, deceptive, and/or

misleading representation or means in connection with the collection of the alleged debt.

       WHEREFORE, Plaintiffs pray for the following relief:

               a.     Judgment against Defendant for Plaintiff’s actual damages suffered as a

                      direct and proximate result of Defendant’s violations of the FDCPA,

                      pursuant to 15 U.S.C. § 1692k(a)(1);

               b.     Judgment against Defendant for $1,000 in statutory damages for

                      Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §

                      1692k(a)(2)(A);

               c.     Judgment against Defendant for Plaintiffs’ reasonable attorneys’ fees and

                      costs incurred in this action, pursuant to 15 U.S.C. § 1692k(a)(3); and

               d.     Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT V

       33.     Plaintiffs incorporate the allegations and statements made above in paragraphs 1

through 8 and 12 through 22 as if reinstated herein.

       34.     Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely representing the character,

amount and/or legal status of the alleged debt.

       WHEREFORE, Plaintiffs pray for the following relief:

               a.     Judgment against Defendant for Plaintiffs’ actual damages suffered as a

                      direct and proximate result of Defendant’s violations of the FDCPA,

                      pursuant to 15 U.S.C. § 1692k(a)(1);




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               b.      Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §

                       1692k(a)(2)(A);

               c.      Judgment against Defendant for Plaintiffs’ reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. § 1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT VI

       35.     Plaintiffs incorporate the allegations and statements made above in paragraphs 1

through 8 and 12 through 22 as if reinstated herein.

       36.     Defendant violated 15 U.S.C. § 1692f by using an unfair or unconscionable means

to attempt to collect the alleged debt.

       WHEREFORE, Plaintiffs pray for the following relief:

               a.      Judgment against Defendant for Plaintiffs’ actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. § 1692k(a)(1);

               b.      Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §

                       1692k(a)(2)(A);

               c.      Judgment against Defendant for Plaintiffs’ reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. § 1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.

                                          COUNT VII




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       37.     Plaintiffs incorporate the allegations and statements made above in paragraphs 1

through 8 and 12 through 22 as if reinstated herein.

       38.     Defendant violated 15 U.S.C. § 1692f(1) by collecting an amount where such

amount was not permitted by law.

       WHEREFORE, Plaintiffs pray for the following relief:

               a.      Judgment against Defendant for Plaintiffs’ actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. § 1692k(a)(1);

               b.      Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §

                       1692k(a)(2)(A);

               c.      Judgment against Defendant for Plaintiffs’ reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. § 1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.

                                          COUNT VIII

       39.     Plaintiffs incorporate the allegations and statements made above in paragraphs 1

through 5 and 9 through 22 as if reinstated herein.

       40.     Defendant violated N.C. Gen. Stat. § 58-70-100 by engaging in conduct, the natural

consequence of which was to oppress, harass, or abuse Plaintiffs in connection with the attempt to

collect the alleged debt.

       WHEREFORE, Plaintiffs pray for the following relief:




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               a.     Judgment against Defendant for Plaintiff’s actual damages sustained as a

                      direct and proximate result of Defendant’s violations of the NCDCA,

                      pursuant to N.C. Gen. Stat. § 58-70-130(a);

               b.     Judgment against Defendant for $4,000 in statutory damages for each of

                      Defendant’s violations of the NCDCA, pursuant to N.C. Gen. Stat. § 58-70-

                      130(b);

               c.     Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT IX

       41.     Plaintiffs incorporate the allegations and statements made above in paragraphs 1

through 5 and 9 through 22 as if reinstated herein.

       42.     Defendant violated N.C. Gen. Stat. § 58-70-100(3) by causing Plaintiffs’ telephone

to ring with such frequency as to be unreasonable or to constitute a harassment to Plaintiffs under

the circumstances.

       WHEREFORE, Plaintiffs pray for the following relief:

               a.     Judgment against Defendant for Plaintiffs’ actual damages sustained as a

                      direct and proximate result of Defendant’s violations of the NCDCA,

                      pursuant to N.C. Gen. Stat. § 58-70-130(a);

               b.     Judgment against Defendant for $4,000 in statutory damages for each of

                      Defendant’s violations of the NCDCA, pursuant to N.C. Gen. Stat. § 58-70-

                      130(b);

               c.     Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT X




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       43.     Plaintiffs incorporate the allegations and statements made above in paragraphs 1

through 5 and 9 through 22 as if reinstated herein.

       44.     Defendant violated N.C. Gen. Stat. § 58-70-110 by attempting to collect a debt by

fraudulent, deceptive, or misleading representation.

       WHEREFORE, Plaintiffs pray for the following relief:

               a.      Judgment against Defendant for Plaintiffs’ actual damages sustained as a

                       direct and proximate result of Defendant’s violations of the NCDCA,

                       pursuant to N.C. Gen. Stat. § 58-70-130(a);

               b.      Judgment against Defendant for $4,000 in statutory damages for each of

                       Defendant’s violations of the NCDCA, pursuant to N.C. Gen. Stat. § 58-70-

                       130(b);

               c.      Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT XI

       45.     Plaintiffs incorporate the allegations and statements made above in paragraphs 1

through 5 and 9 through 22 as if reinstated herein.

       46.     Defendant violated N.C. Gen. Stat. § 58-70-115(3) by attempting to collect any date

by use of any unfair practices.

        WHEREFORE, Plaintiffs pray for the following relief:

               a.      Judgment against Defendant for Plaintiffs’ actual damages sustained as a

                       direct and proximate result of Defendant’s violations of the NCDCA,

                       pursuant to N.C. Gen. Stat. § 58-70-130(a);




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               b.      Judgment against Defendant for $4,000 in statutory damages for each of

                       Defendant’s violations of the NCDCA, pursuant to N.C. Gen. Stat. § 58-70-

                       130(b);

               c.      Any other legal and/or equitable relief as the Court deems appropriate.

                                            COUNT X

       47.     Plaintiffs incorporate the allegations and statements made above in paragraphs 1

through 5 and 9 through 22 as if reinstated herein.

       48.     Defendant violated N.C. Gen. Stat. § 58-70-115(3) communicating with Plaintiffs

when Defendant has been notified by Plaintiffs’ attorney that he represents said Plaintiffs.

       WHEREFORE, Plaintiffs pray for the following relief:

               b.      Judgment against Defendant for Plaintiffs’ actual damages sustained as a

                       direct and proximate result of Defendant’s violations of the NCDCA,

                       pursuant to N.C. Gen. Stat. § 58-70-130(a);

               b.      Judgment against Defendant for $4,000 in statutory damages for each of

                       Defendant’s violations of the NCDCA, pursuant to N.C. Gen. Stat. § 58-70-

                       130(b);

               c.      Any other legal and/or equitable relief as the Court deems appropriate.

                                        JURY DEMAND

       Plaintiffs demand a trial by jury on all issues in this action, except for any issues relating

to the amount of attorneys’ fees and litigation costs to be awarded should Plaintiffs prevail on any

of their FDCPA and NCDCA claims in this action.



                                              RESPECTFULLY SUBMITTED,

                                              BRUCE AND EMMA HUNDLEY

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                              By:    /s/ Jeffrey Philogene____
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